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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION

TAILGATE GUYS, LLC; PARKER                                                           PLAINTIFFS
DUFFEY; MICHAEL OTWELL; and
DUFFEY & OTWELL COMPANIES, LLC

vs.                                                      Civil Action No. 3:18-cv-944-WKW-WC

WILLIAM McCLAIN                                                                     DEFENDANT



                           NOTICE OF VOLUNTARY DISMISSAL


       The plaintiffs respectfully submit this notice of their voluntary dismissal of this case without

prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(i).

       Dated: January 24, 2019.

                                                       Respectfully submitted:

                                                       Tailgate Guys, LLC; Parker Duffey;
                                                       Michael Otwell: and Duffey & Otwell
                                                       Companies, LLC

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